Case 3:20-cv-00789-CWR-ASH    Document 82-4   Filed 02/02/24   Page 1 of 4

                                                         Page 1
     MS Assc. for Home Care 30(b)(6) Rebecca Knight 10/20/2023


                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           NORTHERN DIVISION

          CHARLES SLAUGHTER
                                                                PLAINTIFF

          V.                 CIVIL ACTION NO. 3:20-cv-789-CWR-FKB

          DR. DANIEL P. EDNEY, IN
          HIS OFFICIAL CAPACITY AS
          THE MISSISSIPPI STATE
          HEALTH OFFICER, ET AL.
                                                               DEFENDANTS


                         30(B)(6) DEPOSITION OF
                 MISSISSIPPI ASSOCIATION FOR HOME CARE

                                 REBECCA KNIGHT



              Taken at the instance of the Plaintiff at
           Butler Snow, LLP, 1020 Highland Colony Parkway,
          Suite 1400, Ridgeland, Mississippi, on Wednesday,
                           April 19, 2023,
                        beginning at 8:56 a.m.




                                     4
                                  REPORTED BY:
                       GINGER H. BROOKS, CCR #1165
                       CRR, RPR, CRC, CCR, CLR, RSA




   Jackson                   Brooks Court Reporting                   Meridian
   Gulfport                      1-800-245-3376                    New Orleans
Case 3:20-cv-00789-CWR-ASH    Document 82-4   Filed 02/02/24   Page 2 of 4

                                                       Page 184
     MS Assc. for Home Care 30(b)(6) Rebecca Knight 10/20/2023


     1                MR. RICE:     Objection to form.
     2                MR. DAVIS:      Ms. Knight, if I thought
     3          long enough, I could probably ask more
     4          questions, but I'm going to tender the
     5          witness.
     6    EXAMINATION BY MR. SHELVER:
     7          Q.    I just have a few questions, very
     8    briefly.
     9                You mentioned patient census several
    10    times today, and I just want you to define or
    11    explain what you mean by "patient census" for the
    12    Court.
    13          A.    Patient census is the patients that we
    14    serve.     It's the unique number.
    15                I mean, it's -- we could look at it a
    16    couple of different ways.
    17                You can look at it as a current.              If I
    18    were to tell you today I have a patient census of
    19    this, that might represent the number of patients
    20    that I have currently actively on home care.
    21                And then you could also view patient
    22    census as patients served, how many patients
    23    served that may not -- no longer be active on home
    24    care.
    25          Q.    So if the CON and the moratorium were



   Jackson                   Brooks Court Reporting                   Meridian
   Gulfport                      1-800-245-3376                    New Orleans
Case 3:20-cv-00789-CWR-ASH    Document 82-4   Filed 02/02/24   Page 3 of 4

                                                       Page 185
     MS Assc. for Home Care 30(b)(6) Rebecca Knight 10/20/2023


     1    removed and the market was opened wide up like
     2    Mr. Slaughter wants, explain to me what would
     3    happen, generally.
     4          A.    Well, generally, that patient census
     5    would decline, and it would be dispersed among who
     6    knows how many companies, and then you would see a
     7    lack of investment dollars to improve care.                I
     8    believe you would see that increased opportunity
     9    for fraud.    And I believe that because that's what
    10    we see.    We've seen that in other states.
    11          Q.    If you had to tell the Court which parts
    12    of the state would be more adversely affected by
    13    the reduction in the patient census, what would
    14    you say?
    15          A.    The rural areas.
    16          Q.    Rural areas?
    17          A.    Absolutely.
    18          Q.    Why is that?
    19          A.    Because, again, in order to even operate
    20    with positive margins, you have to have a patient
    21    population that's going to support that, and you
    22    would -- you would tend to migrate to those
    23    geographies where the density of that patient
    24    population was greater.
    25          Q.    In Mississippi, where are the greatest



   Jackson                   Brooks Court Reporting                   Meridian
   Gulfport                      1-800-245-3376                    New Orleans
Case 3:20-cv-00789-CWR-ASH    Document 82-4    Filed 02/02/24   Page 4 of 4

                                                       Page 205
     MS Assc. for Home Care 30(b)(6) Rebecca Knight 10/20/2023


     1                CERTIFICATE OF COURT REPORTER
     2                I, Ginger H. Brooks, Court Reporter and
     3    Notary Public, in and for the State of
     4    Mississippi, hereby certify that the foregoing
     5    contains a true and correct transcript of the
     6    testimony of REBECCA KNIGHT, as taken by me in the
     7    aforementioned matter at the time and place
     8    heretofore stated, as taken by stenotype and later
     9    reduced to typewritten form under my supervision
    10    by means of computer-aided transcription.
    11                I further certify that under the
    12    authority vested in me by the State of Mississippi
    13    that the witness was placed under oath by me to
    14    truthfully answer all questions in the matter.
    15                I further certify that, to the best of
    16    my knowledge, I am not in the employ of or related
    17    to any party in this matter and have no interest,
    18    monetary or otherwise, in the final outcome of
    19    this matter.
    20                Witness my signature and seal this the
    21    9th day of November, 2023.
    22
    23                                        _______________________
                                              GINGER H. BROOKS, #1165
    24                                        CRR, RPR, CCR
          My Commission Expires:
    25    September 18, 2025



   Jackson                   Brooks Court Reporting                    Meridian
   Gulfport                      1-800-245-3376                     New Orleans
